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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

Criminal Case No. 18-cr-00099-RBJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.

1.     LACHY EDUARDO ESPINEL, JR.,
2.     ADRIAN FELIPE HURTADO,
3.     FELIPE HURTADO,
4.     YUNIEL GANCEDO,
5.     YUNIOR HERNANDEZ MARTINEZ,
6.     WILL BRADLEY LUMPKIN,

               Defendants.


                                        INDICTMENT
                                   CHARGING STATUTES
                                         18 U.S.C. § 2
                                     21 U.S.C. ' 841(a)(1)
                                  21 U.S.C. § 841(b)(1)(A)(vii)
                                  21 U.S.C. § 841(b)(1)(B)(vii)
                                    21 U.S.C. § 841(b)(1)(C)
                                    21 U.S.C. § 841(b)(1)(D)
                                        21 U.S.C. ' 846



                                         COUNT ONE

       On or about and between March 1, 2015 and December 11, 2017 both dates being

approximate and inclusive, within the State and District of Colorado and elsewhere, the defendant,

LACHY EDUARDO ESPINEL, JR., and others both known and unknown to the Grand Jury, did

knowingly and intentionally conspire to manufacture, distribute and possess with the intent to

distribute, 1,000 or more marihuana plants, a Schedule I Controlled Substance and the defendants:

               ADRIAN FELIPE HURTADO,
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               FELIPE HURTADO,
               YUNIEL GANCEDO,
               YUNIOR HERNANDEZ MARTINEZ,
               WILL BRADLEY LUMPKIN,

did knowingly and intentionally conspire to manufacture, distribute and possess with the intent to

distribute, 100 or more marihuana plants, a Schedule I Controlled Substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)(vii),

841(b)(1)(B)(vii) and 846.

                                           COUNT TWO

       On or about February 18, 2016, within the State and District of Colorado, the defendants,

FELIPE HURTADO and LACHY EDUARDO ESPINEL, JR., did knowingly and intentionally

manufacture, distribute and possess with intent to distribute 50 or more marihuana plants, a

schedule I controlled substance, and did knowingly and intentionally aid, abet, counsel, command,

induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and

Title 18, United States Code, Section 2.

                                       COUNT THREE

       On or about August 18, 2016, within the State and District of Colorado, the defendant,

YUNIEL GANCEDO, did knowingly and intentionally manufacture, distribute and possess with

intent to distribute less than 50 marihuana plants, a schedule I controlled substance, and did

knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D) and

Title 18, United States Code, Section 2.
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                                           COUNT FOUR

       On or about August 18, 2016 within the State and District of Colorado, the defendant,

YUNIEL GANCEDO, did knowingly and intentionally manufacture, distribute and possess with

intent to distribute 100 or more marihuana plants, a schedule I controlled substance, and did

knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                           COUNT FIVE

       On or about August 18, 2016 within the State and District of Colorado, the defendants,

ADRIAN FELIPE HURTADO, FELIPE HURTADO, and YUNIEL GANCEDO, did knowingly

and intentionally manufacture, distribute and possess with intent to distribute 100 or more

marihuana plants, a schedule I controlled substance, and did knowingly and intentionally aid, abet,

counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                           COUNT SIX

       On or about January 23, 2017, within the State and District of Colorado, the defendant,

YUNIOR HERNANDEZ MARTINEZ, did knowingly and intentionally manufacture, distribute

and possess with intent to distribute 50 or more marihuana plants, a schedule I controlled

substance, and did knowingly and intentionally aid, abet, counsel, command, induce or procure

the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and

Title 18, United States Code, Section 2.
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                                       COUNT SEVEN

       On or about January 23, 2017 within the State and District of Colorado, the defendant,

ADRIAN FELIPE HURTADO, did knowingly and intentionally manufacture, distribute and

possess with intent to distribute 100 or more marihuana plants, a schedule I controlled substance,

and did knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                        COUNT EIGHT

       On or about December 7, 2017 within the State and District of Colorado, LACHY

EDUARDO ESPINEL, JR., did knowingly and intentionally manufacture, distribute and possess

with intent to distribute 100 or more marihuana plants, a schedule I controlled substance, and did

knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                         COUNT NINE

       On or about December 11, 2017, within the State and District of Colorado, WILL

BRADLEY LUMPKIN and LACHY EDUARDO ESPINEL, JR., did knowingly and intentionally

manufacture, distribute and possess with intent to distribute 100 or more marihuana plants, a

schedule I controlled substance, and did knowingly and intentionally aid, abet, counsel, command,

induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.
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                                         COUNT TEN

       On or about December 11, 2017, within the State and District of Colorado, ADRIAN

FELIPE HURTADO and LACHY EDUARDO ESPINEL, JR., did knowingly and intentionally

manufacture, distribute and possess with intent to distribute 100 or more marihuana plants, a

schedule I controlled substance, and did knowingly and intentionally aid, abet, counsel, command,

induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                      COUNT ELEVEN

       On or about December 11, 2017, within the State and District of Colorado, LACHY

EDUARDO ESPINEL, JR., did knowingly and intentionally manufacture, distribute and possess

with intent to distribute 100 or more marihuana plants, a schedule I controlled substance, and did

knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.

                                      COUNT TWELVE

       On or about December 11, 2017, within the State and District of Colorado, LACHY

EDUARDO ESPINEL, JR., did knowingly and intentionally manufacture, distribute and possess

with intent to distribute 100 or more marihuana plants, a schedule I controlled substance, and did

knowingly and intentionally aid, abet, counsel, command, induce or procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(vii)

and Title 18, United States Code, Section 2.
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                                 FORFEITURE ALLEGATION

       The allegations contained in Counts One through Twelve of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to the

provisions of 21 U.S.C. § 853.

       Upon conviction of the violations alleged in Counts One through Twelve of this Indictment

involving violations of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A)(vii), 841(b)(1)(B)(vii),

841(b)(1)(C) and 841(b)(1)(D) the defendants; LACHY EDUARDO ESPINEL, JR., ADRIAN

FELIPE HURTADO, FELIPE HURTADO, YUNIEL GANCEDO, YUNIOR HERNANDEZ

MARTINEZ, and WILL BRADLEY LUMPKIN, shall forfeit to the United States, pursuant to

Title 21, United States Code, Section 853 any and all of the defendants’ right, title and interest in

all property constituting and derived from any proceeds obtained directly and indirectly as a result

of such offense, and in all property used, or intended to be used, in any manner or part, to commit,

or to facilitate the commission of such offense, including, but not limited to a money judgment in

the amount of proceeds obtained by the conspiracy and by the defendants.

       If any of the property as a result of any act or omission of the defendants:

               a)      cannot be located upon the exercise of due diligence;
               b)      has been transferred or sold to, or deposited with, a third
                       party;
               c)      has been placed beyond the jurisdiction of the Court;
               d)      has been substantially diminished in value; or
               e)      has been commingled with other property which
                       cannot be subdivided without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of said defendants up to the value of the forfeitable property.


                                              A TRUE BILL:

                                              Ink signature on file in Clerk’s Office
                                              GRAND JURY FOREPERSON


APPROVED:

ROBERT C. TROYER
United States Attorney

BY:    s/Zachary Phillips
       ZACHARY PHILLIPS
       Assistant United States Attorney
       U.S. Attorney’s Office
       1801 California, Suite 1600
       Denver, Colorado 80202
       Telephone (303) 454-0118
       Fax (303) 454-0401
       Zachary.phillips@usdoj.gov
